 

Case 1:15-CV-01985-.]F|\/| Document 18 Filed 12/09/15 Page 1 of 1

IN THE UNITED STATES DISTRICT C()URT
FOR THE DISTRICT OF MARYLAND

 

MELODY A. RUSSELL *
*
*
V. * Civil NO. - JFM-15-1985
*
HEALTHCARE ASSOCIATES CREDIT *
UNION, ET AL.
******
ORDER

F or the reasons stated in the memorandum entered herewith, it is, this ??/ day of
December 2015-

ORDERED

1. Defendant’s motion to dismiss (document 6) is granted;

2. Plaintiff"s motion to amend the complaint (document 13) is denied; and

3. This action is dismissed.

 

Unit d States District Judge

 

 

 

